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                                            UNITED STATES DISTRICT COURT
                                        FOR THE EASTERN DISTRICT OF MICHIGAN

                            ADAM KANUSZEWSKI, et al,
                                Plaintiffs,                                Case No.: 18-cv-10472

                                 v.                                      Hon. Thomas L. Ludington,
                                                                            District Court Judge
                            MICHIGAN DEPARTMENT OF
                            HEALTH AND HUMAN                               Hon. Patricia T. Morris,
                            SERVICES, et al,                                 Magistrate Judge
                                Defendants
                                                                /
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                                              RESPONSE TO BIOBANK/YANCEY
                                             DEFENDANTS’ MOTION TO DISMISS




                                                                    1
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                                 NOW COME Plaintiffs, by counsel, and requests Defendants Michigan

                            Neonatal Biobank and Dr. Antonio Yancey’s collective motion to dismiss

                            [ECF Nos. 15, 17] be immediately denied as moot. On April 30, 2018,

                            Plaintiffs filed their First Amended Complaint adding and/or revising

                            allegations, adding newly discovered facts, attaching additional exhibits, and

                            adding an additional claim against the Biobank. ECF No. 26. Fed. R. Civ. P.

                            15(a)(1)(B) allows a party to amend a pleading as a matter of course within
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                            21 days of being served a motion under Rule 12(b). “An amended complaint
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                            supersedes an earlier complaint for all purposes.” Calhoun v. Bergh, 769

                            F.3d 409, 410 (6th Cir. 2014). As the undersigned understands it, “when an

                            amended complaint is filed, the prior complaint is superseded and rendered

                            moot,” and then “motions directed at the superseded pleading generally are

                            to be denied as moot.” Tiffany v. Mich Dep’t. of Health and Human Servs.,

                            2015 U.S. Dist. LEXIS 126368, at *2 (E.D. Mich, Sep. 22, 2015)(LUDINGTON,

                            J.)(citing Smith & Nephew Inc. v. Fed. Ins. Co., 113 F. App’x 99, 102 (6th

                            Cir. 2004) and Mize v. Blue Ridge Bank, No. 8:12-CV-2763-JMC-JDA, 2013

                            WL 1766659, at *1 (D.S.C. Feb. 12, 2013) (collecting cases));1 see also Ling

                            v. Twp of Richland, 2015 U.S. Dist. LEXIS 10831, at *3 (ED Mich, Jan. 30,

                            2015)(same).


                                 1
                                     Tiffany is attached as Exhibit A; Ling is attached as Exhibit B.

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                                  Based on this Court’s prior established practice under Tiffany and Ling,

                            the motion to dismiss [ECF Nos. 15, 17] seeking dismissal against the

                            original pleading [ECF No. 3] should be denied and these Defendants must

                            now either answer the First Amended Complaint [ECF No. 26] or file a new

                            motion to dismiss. If the Court desires any other process,2 this Court is

                            requested to direct the parties on how to proceed.3 Otherwise, the hearing

                            date of July 25, 2018 should be cancelled light of the filing of the First
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                            Amended Complaint.
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                                                         RELIEF REQUESTED

                                  WHEREFORE, the motion to dismiss pursuant to Rule 12(b)(6) [ECF

                            Nos. 15, 17] should be denied as moot. If the Court desires any other

                            process, the Court is requested to so direct the parties.




                                  2
                                     In Ling, for example, the Court provided the local government
                            defendants the option to file a notice on the docket indicating its intent for the
                            original motion to still be considered if those parties believed its motion to
                            dismiss, as currently filed, can be appropriately directed at the Amended
                            Complaint. Perhaps this Court would be prepared to offer the Biobank
                            Defendants this same option. If so, the Court is asked to so direct the parties.
                                  3
                                    Plaintiffs are prepared to address the erroneous arguments of the
                            Biobank Defendants should this Court desire to address them despite its
                            normal dismiss-as-moot process outlined in Tiffany.

                                                                     3
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                            Date: May 2, 2018                       RESPECTFULLY SUBMITTED:

                                                                    /s/ Philip L. Ellison
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                                                    CERTIFICATE OF SERVICE

                                  I, the undersigned attorney of record, hereby certify that on the date
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                            stated below, I electronically filed the foregoing with the Clerk of the Court
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                            using the ECF system which will send notification of such filing to all counsel

                            or parties of record.

                            Date: May 2, 2018                       RESPECTFULLY SUBMITTED:

                                                                    /s/ Philip L. Ellison
                                                                    OUTSIDE LEGAL COUNSEL PLC
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